         Case 1:99-cv-02496-PLF Document 6516 Filed 09/12/22 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,              )
      Plaintiff,                       )     Civil Action No. 99-CV-2496 (PLF)
                                       )
      and                              )
                                       )
TOBACCO-FREE KIDS                      )
ACTION FUND, et al.,                   )
      Plaintiff-Intervenors            )
                                       )
      v.                               )
                                       )
PHILIP MORRIS USA INC., et al.,        )
      Defendants,                      )
                                       )
              and                      )
                                       )
ITG BRANDS, LLC, et al.,               )
      Post-Judgment Parties Regarding  )
      Remedies.                        )
____________________________________)


               JOINT RESPONSE TO AUGUST 31, 2022 NOTICE (D.N. 6515)


        On August 18, 2022 the Court emailed the parties1 a series of questions regarding the role

of the Adjudicator in the proposed consent order (D.N. 6507-3). On August 31, 2022 the Court

docketed a notice with those questions (D.N. 6515). This response contains the parties’ joint

answers to the questions posed by the Court.




1
 The parties are the United States and the Public Health Intervenors; Philip Morris USA Inc., Altria Group,
Inc., and R.J. Reynolds Tobacco Company (individually, as successor in interest to Brown & Williamson
Tobacco Corporation, and as successor to Lorillard Tobacco Company); and ITG Brands, LLC,
Commonwealth Brands, Inc., and Commonwealth-Altadis, Inc. (collectively “Remedies Parties”).
The non-party national retailer groups are the National Association of Convenience Stores (“NACS”) and
the National Association of Tobacco Outlets (“NATO”). The non-party national retailer groups were
consulted and have no concerns with these responses.
       Case 1:99-cv-02496-PLF Document 6516 Filed 09/12/22 Page 2 of 6




1) When do the parties anticipate the Adjudicator’s work will actually start? Once the
   work begins, for how many months will it last? And will most of the work be early in
   the time period following the Effective Date or later?
   We anticipate that the Adjudicator’s work will start during the Ramp-Up Period, shortly after
   the Consent Order becomes effective. We expect the Adjudicator’s workload during the Ramp
   Up Period to be relatively limited, as the Working Group will largely be addressing
   implementation questions. We expect that the pace of Working Group meetings, and the
   Adjudicator’s workload, will increase during the Posting Period and will likely ebb and flow
   within the Implementation Period. We also anticipate that the Adjudicator may have some
   responsibilities that extend past the end of the final Audit (the last portion of the
   Implementation Period). In total, from the beginning of the Ramp-Up Period through the end
   of the Implementation Period is a period of 30 months, to which we would add an addition al
   estimated 2 months for work arising from the final Audit.


2) Under the consent order, must the Adjudicator be present at every Working Group
   meeting? See Consent Order § VII.2 (“Attendance of six members of the Working
   Group . . . and attendance of the Adjudicator constitutes a quorum for the transaction
   of business.” (emphasis added)).
3) If so, why is the Adjudicator’s presence required at every meeting? The Court assumes
   that there may be several meetings, especially during the Ramp-Up Period, at which
   Noncompliance Appeals will not be at issue.
   Joint answer to 2 and 3:
   We would like the Adjudicator to be present at most Working Group meetings. If the
   Adjudicator attends the Working Group meetings, then when it comes time for him or her to
   resolve a dispute, s/he will be up to speed on the relevant issues and would not require briefing
   that would only slow down the adjudication process. (Additionally, as anticipated by #5 below,
   there may be non-appeal circumstances in which the parties ask the Adjudicator to play a
   facilitating role.)
   We expect, however, there will be instances (particularly during the Ramp Up Period) where
   the Working Group agenda includes only implementation issues or similar topics such that the
   Adjudicator need not attend. In such instances, we would not want the Adjudicator’s absence
   to deprive the Working Group of a quorum, so that language in the proposed consent order
   should be revised, as follows: “Attendance of six members of the Working Group . . . and
   attendance of the Adjudicator constitutes a quorum for the transaction of business, except in
   those circumstances where six members of the Working Group agree that the Adjudicator’s
   attendance is not required to constitute a quorum for a given meeting.”


4) Relatedly, what is the Adjudicator’s role when it comes to Working Group discussions
   outside of Noncompliance Appeals? For example, the consent order states that “[t]he
   Adjudicator may be asked to resolve issues including Noncompliance Appeals on the
   terms provided in Section V.7 above, or other tie votes of the Working Group.” Consent
   Order § VII.4.a (emphasis added). Specifically, what do “other tie votes” entail?



                                                2
        Case 1:99-cv-02496-PLF Document 6516 Filed 09/12/22 Page 3 of 6




   The Working Group may need to resolve issues other than those that arise through a
   Noncompliance Appeal, including but not limited to those described in the Proposed Order at
   Sections III.1.a.v, (requests for alternative placement of signs), Section III.4 (same), and
   Section III.3 (requests for exemptions). In such circumstances, we would request that the
   Adjudicator be available to resolve a tie.


5) Does the Adjudicator have a role to play as a mediator to resolve issues in dispute in or
   outside the Working Group? In other words, does he or she wear two hats—one as
   mediator/facilitator and the other as adjudicator/appellate decision-maker?
   The Adjudicator’s primary role would be to adjudicate issues that the Working Group cannot
   resolve itself by breaking tie votes among the Working Group membership. That said, with
   respect to issues other than Noncompliance Appeals, where a party believes that a mediator
   or facilitator would be helpful, it could ask the Adjudicator to play that role.


6) What is the effect of a tie vote in the Working Group if neither the Participating
   Retailer Location nor a member of the Working Group appeals the decision? See
   Consent Order § V.7.f.
   If there is an appeal to the Working Group, it has a tie vote, and then no one appeals to the
   Adjudicator, then the Auditor’s decision would stand.


7) At the settlement hearing, counsel for the manufacturers represented that the
   Adjudicator’s presence at the Working Group is intended to aid efficiency so that he or
   she is fully informed and can decide Noncompliance Appeals quickly. A particular
   retailer may, however, raise concerns that the Adjudicator is involved in ex parte
   discussions with the Working Group. Have the parties accounted for this potential
   concern?
   The parties do not believe that ex parte discussions should be a concern. Participating Retail
   Locations have a right to appeal a decision to the Working Group, which includes
   representatives from the two Retailer Groups. In a Noncompliance Appeal, the Adjudicator’s
   only role is listening to Working Group discussion to build his or her familiarity with the issue.
   There is no ex parte communication, because neither the Auditor nor the Participating Retail
   Location involved in the Noncompliance Appeal has participated prior to the Adjudicator’s
   decision. In the event there is a tie vote, the Working Group proceedings would have include d
   (and thereby the Adjudicator would have been exposed to) voices articulating the various
   positions adopted by members of the Working Group, including, importantly for this
   consideration, representatives from the two Retailer groups. If there is a majorit y decision
   either affirming or reversing the Auditor’s finding of major noncompliance, the Adjudicator
   would still be exposed to the Working Group’s discussion—including the viewpoints of the
   plaintiffs’, manufacturers’, and Retailer group’s representatives—and the appeal submission
   of the Participating Retail Location.




                                                 3
       Case 1:99-cv-02496-PLF Document 6516 Filed 09/12/22 Page 4 of 6




8) Is the Adjudicator required to issue a decision on a Noncompliance Appeal in writing?
   See Consent Order §§ V.7.i, VII.4. Similarly, is the Working Group required to issue
   decisions in writing?
   It would be helpful to document all decisions by the Working Group and the Adjudicator in
   writing, even if something fairly basic, so that we have the record for any subsequent appeals
   and for future decisions.


9) Will the Adjudicator be provided funds to hire a law clerk or some other individual to
   aid him or her with Noncompliance Appeals?
   Pending client confirmation, Manufacturers have no objection to funding a law clerk or
   assistant to the Adjudicator if that would be helpful in expediting the work and ameliorating
   pressure on the Adjudicator.


Dated: September 12, 2022                           Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General
                                                   Civil Division

                                                   LISA K. HSIAO, Assistant Director
                                                   Consumer Protection Branch

                                                   /s/
                                                   ADAM E. LYONS
                                                   Assistant Director
                                                   DANIEL K. CRANE-HIRSCH
                                                   JAMES NELSON
                                                   Senior Trial Attorneys
                                                   ZACHARY A. DIETERT
                                                   MEREDITH B. HEALY
                                                   Trial Attorneys
                                                   Civil Division
                                                   United States Department of Justice
                                                   PO Box 386
                                                   Washington, DC 20044-0386
                                                   Telephone: 202-532-4406
                                                   adam.e.lyons@usdoj.gov

                                                   Attorneys for Plaintiff United States of
                                                          America




                                               4
Case 1:99-cv-02496-PLF Document 6516 Filed 09/12/22 Page 5 of 6




                                   /s/
                                   Scott P. Lewis (pro hac vice)
                                   slewis@andersonkreiger.com
                                   Melissa C. Allison (admitted pro hac vice)
                                   mallison@andersonkreiger.com
                                   Christina S. Marshall (D.C. Bar # MA0022)
                                   cmarshall@andersonkreiger.com
                                   ANDERSON & KREIGER LLP
                                   50 Milk, 21st Floor
                                   Boston, MA 02109
                                   Telephone: 617-621-6500
                                   Fax: 617-621-6660

                                   Attorneys for the Public Health Plaintiff-
                                          Intervenors


                                   /s/
                                   Miguel A. Estrada (D.C. Bar No. 456289)
                                   Amir C. Tayrani (D.C. Bar No. 490994)
                                   GIBSON, DUNN & CRUTCHER LLP
                                   1050 Connecticut Avenue, N.W.
                                   Washington, D.C. 20036-5306
                                   Telephone: (202) 955-8257
                                   Fax: (202) 530-9016
                                   mestrada@gibsondunn.com
                                   atayrani@gibsondunn.com

                                   George C. Lombardi
                                   WINSTON & STRAWN LLP
                                   35 W. Wacker Drive
                                   Chicago, IL 60601
                                   Telephone: (312) 558-5969
                                   Fax: (312) 558-5700
                                   glombard@winston.com

                                   Attorneys for Defendants Altria Group, Inc.
                                   and Philip Morris USA Inc. and Altria


                                   /s/
                                   John M. Gore (D.C. Bar No. 502057)
                                   Jon G. Heintz (pro hac vice)
                                   JONES DAY
                                   51 Louisiana Avenue, N.W.
                                   Washington, D.C. 20001-2113



                               5
Case 1:99-cv-02496-PLF Document 6516 Filed 09/12/22 Page 6 of 6




                                   Telephone: (202) 879-3939
                                   Fax: (202) 626-1700
                                   jmgore@jonesday.com
                                   jheintz@jonesday.com

                                   Jeffrey A. Mandell (D.C. Bar No. 999791)
                                   STAFFORD ROSENBAUM LLP
                                   222 West Washington Avenue, Suite 900
                                   Madison, Wisconsin 53703
                                   Telephone: (608) 256-0226
                                   Fax: (608) 259-2600
                                   jmandell@staffordlaw.com

                                   Attorneys for Defendant R.J. Reynolds
                                   Tobacco Company (individually, as
                                   successor in interest to Brown & Williamson
                                   Tobacco Corporation, and as successor to
                                   Lorillard Tobacco Company)


                                   /s/
                                   Elizabeth B. McCallum (D.C. Bar
                                   No.451361)
                                   BAKER & HOSTETLER LLP
                                   1050 Connecticut Avenue, N.W.
                                   Washington, D.C. 20036-5304
                                   Telephone: (202) 861-1500
                                   Fax: (202) 861-1783

                                   Attorneys for Post-Judgment Parties
                                   Regarding Remedies ITG Brands, LLC,
                                   Commonwealth Brands, Inc. and
                                   Commonwealth-Altadis, Inc.




                               6
